Case 5:20-cv-02659-PA-DFM Document 17 Filed 10/27/21 Page 1 of 1 Page ID #:452


                                                                    JS-6


                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                            EASTERN DIVISION



  MICHAEL ABNER,                         No. ED CV 20-02659-PA (DFM)

          Petitioner,                    JUDGMENT

              v.

  WARREN L. MONTGOMERY,

          Respondent.



       Pursuant to the Court’s Order Accepting Report and Recommendation
 of United States Magistrate Judge,
       IT IS ADJUDGED that the Petition is denied, and this action dismissed
 with prejudice.


  Date: October 27, 2021                  ___________________________
                                          PERCY ANDERSON
                                          United States District Judge
